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10   Care Service Corporation, Humana Inc., and
     Molina Healthcare Inc.
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12
13                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
14                                 SAN JOSE DIVISION
15
16   TEVA PHARMACEUTICALS USA, INC.,                    Case No. 5:24-cv-03567-NW
17
                  PLAINTIFF,                            PLAINTIFFS’ STATEMENT OF
18        V.                                            NON-OPPOSITION TO DEFENDANT
                                                        CORCEPT THERAPETUICS INC.’S
19
     CORCEPT THERAPEUTICS, INC., AND                    MOTION TO CONSIDER WHETHER
20   OPTIME CARE INC.,                                  THE CASES SHOULD BE RELATED

21               DEFENDANTS.                            The Honorable Noël Wise
22
     THIS DOCUMENT RELATES TO:
23
24   Aetna Inc. et al. v. Corcept Therapeutics, Inc.,
     NO. 3:25-CV-2590-RFL
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        PLAINTIFFS’ NON-OPPOSITION TO WHETHER CASES SHOULD BE RELATED
            Case 5:24-cv-03567-NW           Document 95       Filed 04/01/25      Page 2 of 3




1           As Plaintiffs Aetna Inc., Health Care Service Corporation, Humana Inc., and Molina
2    Healthcare, Inc. (collectively “Plaintiffs”) indicated to counsel for Defendant Corcept
3
     Therapeutics Inc. (“Corcept”), they take no position on whether their case should be related before
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     this Court. See ECF 94 at n. 1. Plaintiffs, however, refused Corcept’s offer to stipulate to same
5
6    lest that be misconstrued as waiving their right to remand. Indeed, Plaintiffs made that point

7    explicitly when stipulating to a briefing schedule regarding their forthcoming remand motion.1
8           Plaintiffs’ case should be remanded to the California Superior Court as Corcept’s cross-
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     complaint is subsumed by Plaintiffs’ state law claims. As such, it is immaterial whether this Court
10
     or Judge Rita F. Lin’s makes that determination.
11
12
13          DATED: April 1, 2025                  Respectfully submitted,

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                                                  /s/ J. Caleigh Macdonald
15                                                Todd M. Schneider
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     1
      See Case No. 3:25-cv-2590-RFL, ECF 7 at 1 citing SWC Inc. v. Elite Promo Inc., 234 F. Supp.
28   3d 1018, 1023 (N.D. Cal. 2017) (“Courts generally have not found waiver where a plaintiff
     undertakes minimal or expected case-management obligations once a case is removed.”).
                                                 2
         PLAINTIFFS’ NON-OPPOSITION TO WHETHER CASES SHOULD BE RELATED
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                                   Counsel for Aetna Inc., Health Care Service
2                                  Corporation, Humana Inc., and Molina Healthcare,
3                                  Inc.

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     PLAINTIFFS’ NON-OPPOSITION TO WHETHER CASES SHOULD BE RELATED
